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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

                       v.                          Criminal Case No. 16-229 (BAH)

 RUBEN OSEGUERA-GONZALEZ,                          Judge Beryl A. Howell

                       Defendant.




                            ORDER REGARDING TRIAL PROCEDURES

       The Standing Order for Criminal Cases, ECF No. 5, already entered in this matter is
supplemented as follows:

1. Trial Schedule. The trial will begin with jury selection on Friday, September 6, 2024, at
   9:00 a.m. in Courtroom 26A, and will proceed to opening statements on Monday, September 9,
   2024, at 9:00 a.m. Unless the parties are otherwise notified, the Court will convene the evidentiary
   portion of the trial from 9:00 a.m. to 12:30 p.m. and 1:30 p.m. to as late as 5:30 p.m., Monday
   through Friday, with a brief mid-morning and mid-afternoon recess. If jury selection is completed
   on September 9, 2024, counsel should be prepared to deliver their opening statements promptly after
   the jury has been selected, sworn-in and preliminary instructions have been delivered by the Court.
       a. Opening statements shall not exceed 30 minutes per party. Any exhibits, charts, or
           summaries to be used in opening statements must be cleared with opposing counsel prior to
           the opening statements, and if any party objects, such objections must be submitted to the
           Court for resolution by 6:00 p.m. on Tuesday, September 3, 2024, with responses due by
           12:00 p.m. on Wednesday, September 4, 2024.
       b. Immediately after opening statements, the government must be prepared to call its first
           witness.
       c. Unless otherwise instructed by the Court, counsel and defendant should be present in the
           courtroom each morning at least fifteen minutes before trial begins to address any
           preliminary matters. Trial before the jury will convene promptly at the designated time on
           each trial day to avoid keeping the jury waiting.
       d. To accommodate hearings in other pending matters, the start of the trial may be slightly
           delayed on September 13, 20, and 27, 2024.

2. General Courtroom Rules. In addition to exercising civility, counsel shall, unless leave is
   otherwise granted:
       a. examine witnesses from the lectern and refer to all individual parties and witnesses, over the
          age of 18, as “Mr.” or “Ms.” rather than by a first name or nickname;
       b. request permission before approaching a testifying witness;
       c. stand when raising objections;

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       d. remain seated when the jury is entering or leaving the courtroom;
       e. direct all statements for the record to the Court rather than to the opposing party.

3. Jury Selection Process. An outline of the jury selection process to be used in this criminal matter is
   set forth in Attachment A to this Order.

4. Technical Equipment. Counsel needing technical assistance with courtroom equipment (e.g.,
   overhead projectors, video display monitors) must contact the Courtroom Technology
   Administrator of the Clerk’s office at (202) 354-3019.

5. Statement of the Case. The Court intends to describe the case to the venire panel as follows:

       This is a criminal case. The United States charges defendant, Ruben Oseguera-Gonzalez, with
   participating in a conspiracy, from around 2007 to February 1, 2017, to distribute 5 kilograms or more
   of cocaine and 500 grams or more of methamphetamine, for importation into the United States, and
   that, in furtherance of this conspiracy, he used, carried, brandished, and possessed firearms, including
   destructive devices.
       In this case, the government alleges that Mr. Oseguera-Gonzalez was a member of a drug
   trafficking organization based in Mexico known as the New Generation Jalisco Cartel, which is also
   known by the Spanish acronym CJNG, that manufactured and distributed controlled substances
   destined for the United States. The government further alleges that the defendant and other members
   of the CJNG possessed, used, carried, and brandished firearms in connection with their drug trafficking
   activities, including grenade launchers and rocket propelled grenades. Mr. Oseguera Gonzalez denies
   the government’s allegations and maintains his innocence.

6. Voir Dire Questions. The voir dire questions that the Court intends to pose to the venire panel
   collectively are listed in Attachment B to this order.

7. Motions or Objections During Trial.
     a. No evidentiary objections shall be argued in the presence of the jury. Counsel must state
         clearly and succinctly the legal basis for any objection in a word or short phrase. To protect
         the record for appellate review, counsel may explain or amplify an objection on the record
         outside the hearing of the jury or after the jury has been excused. If counsel plans to engage
         in a line of inquiry that requires judicial pre-approval, counsel may request a bench
         conference.
       b. Bench Conferences should be requested only when necessary because counsel intends
          to refer to issues requiring pre-clearance (e.g., anticipated questions or testimony may
          refer to missing witness or potentially inflammatory subject matter). Counsel should not
          expect requests for a bench conference to be routinely granted and should, instead,
          consider whether the issue counsel wishes to address at the bench can wait until the jury is
          excused for a recess.

8. Witness Examination.
      a. A party calling a witness must arrange for the witness’s presence until cross-examination
         is completed. Failure to have a witness present for cross-examination is grounds for

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           striking the witness’s testimony. Except in extraordinary circumstances, the trial will not
           be recessed due to the unavailability of a witness.
       b. After a non-defendant witness has been tendered for cross-examination and until the
          witness has been tendered back for redirect, counsel calling that witness (including law
          enforcement officers or investigators) to testify must have no further discussions with that
          witness concerning any aspect of the testimony already given or anticipated. For a
          defendant-witness, the Court refers the parties to the guidelines set forth in United States
          v. McLaughlin, 164 F.3d 1, 4–7 (D.C. Cir. 1998), cert. denied, 526 U.S. 1079 (1999).
9. Jury Instructions. If events during trial necessitate an immediate jury instruction, counsel
   requesting the instruction must provide the Court with the text of the proposed instruction;
   otherwise, the request may be considered waived. If a party would like an instruction included in
   the Court’s final instructions to the jury, that party bears the responsibility of providing the text
   requested prior to the charging conference for discussion at the charging conference.

10. Juror Confidentiality. The names and personal information of prospective and selected jurors in
    any trial of this matter shall be kept confidential and not disclosed outside of open court, except
    upon order of the Court. See D.D.C. LOCAL CRIM. R. 24.1(b); D.D.C. JURY SELECTION PLAN
    ¶ 18.1 (updated May 17, 2022), available at https://www.dcd.uscourts.gov/jury-selections.
    Counsel and parties are cautioned that violation of this directive may result in contempt
    proceedings.


Date: August 16, 2024



                                                     _____________________________
                                                     BERYL A. HOWELL
                                                     United States District Court Judge




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                                  ATTACHMENT A TO TRIAL ORDER
                                       Jury Selection Process

1. Number of Jurors Seated. As required by the Federal Rules of Criminal Procedure, a unanimous
   verdict must be returned by a jury of 12 members in criminal trials, absent special circumstances.
   FED. R. CRIM. P. 23(b) and 31(a). To provide prudently for the sickness or disability of any juror,
   two alternate jurors will also be selected. FED. R. CRIM. P. 24(c)(1).
2. Venire Panel. The number of panelists is computed by totaling the following: the number of jurors
   to be selected, the number of alternates to be selected, and the number of peremptory challenges.
   Thus, in this single defendant criminal case, in which the defendant has 10 and the government has 6
   peremptory challenges, see FED. R. CRIM. P. 24(b)(2), plus each side has 1 challenge with respect to
   alternates, see FED. R. CRIM. P. 24(c)(4)(A), individual voir dire will be conducted on a sufficient
   number of prospective jurors to qualify a venire panel, after excusing panelists for cause, of 32
   panelists.
3. Location. The prospective jurors will be seated in Courtroom 26A by the courtroom deputy clerk in the
   order in which their names appear on the venire list. The seating arrangement will start with the first-
   listed prospective juror being placed in the first row of gallery seats located on the left side of the
   Courtroom 26A (as viewed from the bench looking toward the rear of the courtroom). Prospective jurors
   will be seated in the order listed on the venire list in sequential order from the left wall to the center aisle
   and, if the left-side gallery is full, then from the right wall to the center aisle.

4. Venire List. Counsel will be provided with the written list of the summoned prospective jurors
   (“venire list”) that is randomly generated.
5. Preliminary Matters and Administration of Oath. After the prospective jurors are seated, Judge
   Howell will give a brief introduction, explaining the importance of jury service and the selection
   process, and the oath will be administered simultaneously to all prospective jurors in Courtroom
   26A.
6. General Voir Dire Questions Asked Simultaneously to All Prospective Jurors. Judge Howell will
   decide what voir dire questions will be asked after consideration of the proposed voir dire questions
   submitted by the parties as part of the Joint Pretrial Statement and any supplemental argument at the
   pretrial conference. FED. R. CRIM. P. 24(a). The prospective jurors will be collectively asked the voir
   dire questions in Courtroom 26A. The jurors will be instructed to mark on the paper provided by the
   courtroom deputy clerk the number of any question to which the juror has an affirmative answer to
   facilitate any follow-up questions.
7. Individual Responses to Questioning. After the collective voir dire questions have been asked,
   prospective jurors will be reseated outside the courtroom. The venire panel will be instructed not to discuss the
   case or the voir dire questions. Each prospective juror will then be escorted individually by the courtroom
   deputy clerk into Courtroom 26A in the order listed on the venire list. Each prospective juror will be
   asked follow-up questions about any affirmative response indicated on the paper. Counsel will have
   the opportunity to request that Judge Howell ask additional pertinent follow-up questions of
   individual jurors at this time. FED. R. CRIM. P. 24(a)(2).

8. Strikes for Cause. Any motion to strike for cause should be made immediately after the individual

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   questioning of the prospective juror, which motion will be ruled on promptly. Any struck juror will
   be excused from the courtroom. When 32 prospective jurors have been qualified, following
   individual voir dire and resolution of strikes for cause, the selection process will proceed
   immediately to the exercise of preemptory challenges.
9. Peremptory Challenges For Regular Jurors. The 32 qualified prospective jurors will be reseated in
   Courtroom 26A in the order on the venire list. Parties are permitted to challenge only qualified
   prospective jurors in the venire. For both regular and alternate jurors, the courtroom deputy clerk
   will provide the parties with a document upon which they may record their respective peremptory
   strikes in the order outlined below.
   Peremptory challenges are exercised in six rounds: in the first four rounds, the government
   exercises one challenge and the defendant exercises two challenges; in the next two rounds, each
   side exercises one challenge, for a total of 6 challenges for the government and 10 challenges for
   defendant. In each round, the government will exercise its challenge first. A pass by any side
   counts as a strike. If the government declines to exercise a challenge on a round, and the defendant
   also declines to exercise a challenge on that same round, the peremptory challenge process for the
   twelve-person jury will be deemed completed. The qualified prospective jurors, who have not been
   stricken, in the order their names appear on the venire list will be the regular jury.
10. Peremptory Challenges For Alternate Jurors. The government may exercise one peremptory
    challenge as to qualified prospective alternate jurors, followed by the defendant, who may do the
    same. See FED. R. CRIM. P. 24(c)(4).

11. Swearing-In Jury. Following the exercise of any peremptory challenges as to the prospective
    alternate jurors, the courtroom deputy clerk will ask fourteen remaining qualified prospective jurors
    to be reseated in the jury box in the order their names appear on the venire list, with the last two
    jurors serving as the alternates. The jury will not be told the seats of the alternates. The jury will
    then be sworn-in.
12. Batson Challenges. Prospective jurors who were stricken on a peremptory challenge will not be
    excused until the entire selection process has been completed, including the resolution of any
    challenges pursuant to Batson v. Kentucky, 476 U.S. 79 (1986). Counsel are forewarned that should
    a Batson challenge be found to be meritorious, the remedy may be to impanel any improperly
    stricken juror on the jury and preclude the party who improperly exercised the strike from excluding
    that juror. Other remedies to address Batson violations are also available, including the imposition
    of monetary sanctions. Counsel should therefore be mindful of the obligation not to exercise
    peremptory challenges that seek to exclude jurors based on race or gender.




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                                ATTACHMENT B TO TRIAL ORDER
                                      Voir Dire Questions

1. Based upon what I have told you about this case, have you received, heard, or seen any information,
   from any source about this case or the defendant RUBEN OSEGUERA GONZALEZ?
2. The United States is represented in this case by KAITLIN SAHNI, KATE NASEEF, and
   JONATHAN HORNOK. PLEASE STAND. Do you know or have you had any contact with any
   of these attorneys? The government will be assisted by paralegal ANGELA ANCALLE-JIMENEZ
   and DEA Special Agent KEVIN NOVICK. PLEASE STAND. Do you know or have you had any
   contact with these individuals? The government may also be joined at counsel table by DEA Special
   Agent KYLE MORI, who is not here today. Do you know or have you had any contact with Agent
   Mori?
3. The defendant at trial is RUBEN OSEGUERA GONZALEZ. PLEASE STAND. Do you know or
   have you had any contact with MR. OSEGUERA GONZALEZ?
4. Mr. Oseguera Gonzalez is represented in this case by ANTHONY E. COLOMBO JR. of the Law
   Office of Anthony E. Colombo Jr. and JAN EDWARD RONIS of the Law Offices of Ronis & Ronis.
   PLEASE STAND. Do you know or have you had any contact with these attorneys or their law firms?
5. You may hear testimony from or about a number of people during the course of this trial. The attorneys
   will now identify for you the names of people who may testify. Listen carefully and, if you recognize
   or know any of the people named, please mark your paper beside the number 5. The government’s
   counsel may go first, and then the defense counsel may list any additional names.
6. Please look around you. Do you know or recognize any other member of the prospective jury panel,
   any member of the courtroom staff, or me?
7. The lawyers have predicted that the presentation of evidence in this trial should last approximately
   three weeks, but it could run shorter or longer. The jury will sit Monday through Friday, generally
   from 9:00 a.m. to about 5:30 p.m., although the starting and ending times may vary. The length of
   jury deliberations following the presentation of evidence at trial will be determined by the jury itself.
   Do you have an urgent or extremely important matter to attend to in the next three weeks such that
   you could be faced with a hardship if selected to serve on the jury in this case?
8. Do you have any vision, language, or hearing problems, or any other physical or medical problems,
   that might interfere with your ability to hear or understand what the witnesses say in this case, to view
   exhibits and photographs, or to give your full attention to this case?
9. Have you, close members of your family, or close friends ever studied law, had legal training, or been
   employed by a lawyer or a law firm, worked in a courthouse, or performed legal investigative work?
10. Do you have any personal, moral, religious, or ethical beliefs that prevent you from sitting in judgment
    of another person?
11. If you have served before as a juror at a civil or criminal trial, or on a grand jury, was there anything
    about your service that might affect your ability to serve fairly and impartially as a juror at this trial?
12. Have you, close members of your family, or close friends ever been employed by a local, state, or
    federal law enforcement agency or a private security company? For example, this includes work at a

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   police department, Federal Bureau of Investigations, sheriff’s department, Department of
   Justice, Drug Enforcement Administration, Marshals Service, Department of Homeland
   Security, U.S. Customs and Border Patrol, a local jail, a state or federal prison, or the like.
13. Have you, close members of your family, or close friends had any experiences with any law
    enforcement agency or the government that might cause you to favor or disfavor the government or
    law enforcement?
14. Have you ever filed a complaint against a police officer or anyone in law enforcement?
15. Have you, close members of your family, or close friends ever been the subject of a criminal
    investigation, accused of criminal conduct, or arrested or prosecuted for a crime?
16. Have you, close members of your family, or close friends ever been a victim of a crime, a witness to
    a crime, or testified in court or before a grand jury as a witness to a crime?
17. Do you have any opinions about prosecutors or defense attorneys that might affect your ability to serve
    fairly and impartially at this trial?
18. Do you, close members of your family, or close friends belong to any group or organization that is
    active in law enforcement or crime victim prevention matters? Examples of such organizations
    include: Fraternal Order of Police, Crime Watch, Neighborhood Watch, Crime Stoppers,
    Orange Hats, or other organizations, including any groups online, that monitor or discuss
    neighborhood crime issues.
19. Do you now belong, or have you within the past five years belonged to or participated in, any groups
    or organizations that advocate for changes in drug control laws?
20. Do you now belong, or have you within the past five years belonged to or participated in, any groups
    or organizations that advocate for gun rights or changes to gun laws?
21. Your function as a juror is to decide questions of fact, and the Court’s job is to instruct you on the law
    to be applied in this case. You are bound by those instructions and cannot substitute your own notions
    of what you think the law is or should be. Would you have any difficulty following the legal
    instructions by the Court?
22. The prosecution has the burden of proof. This means that the jury cannot return a guilty verdict against
    a defendant unless the prosecution has proven beyond a reasonable doubt that the defendant is guilty
    of the crime charged. Would you have any difficulty following this legal instruction?
23. The defendant in this case, just as every defendant in a criminal trial, is presumed innocent and,
    therefore, has no obligation to testify or present any evidence in the case. Would you have any
    difficulty following this legal instruction?
24. The evidence you are to consider is only provided in English, either through the official court
    interpreter when a witness testifies in a foreign language, or as presented in translated exhibits. Some
    of you may know Spanish, but you must not rely on your own interpretation. You will be required to
    accept the English interpretation and consider only the English portion of the written translations.
    Would you have any difficulty following this legal instruction?




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25. The defendant is charged with conspiring with others and aiding and abetting others to commit illegal
    acts, but those other alleged persons are not on trial here, and you may not speculate as to the reasons
    why those individuals are not on trial. Would you have any difficulty following this legal instruction?
26. The defendant in this case is a United States citizen and a resident of Mexico. Do you have any strong
    opinions or beliefs regarding residents of Mexico that would make it difficult for you to be a fair and
    impartial juror in this case?
27. Some evidence collected by the Government of Mexico may be presented during the trial. Do you
    have any strong opinions or beliefs regarding the Government of Mexico that would make it difficult
    for you to evaluate that evidence fairly?
28. Have you, close members of your family, or close friends had their lives seriously or adversely affected
    by illegal substance abuse or by use of a gun such that this would make it difficult for you to be a fair
    and impartial juror in this case?
29. Evidence will be presented in this case regarding the distribution of narcotic controlled substances.
    Do you have strong opinions or beliefs about narcotics distribution that would make it difficult for you
    to be a fair and impartial juror in this case?
30. Evidence will be presented in this case regarding the use of firearms. Do you have strong opinions or
    beliefs about the use or possession of firearms that would make it difficult for you to be a fair and
    impartial juror in this case?
31. Have you read any books or articles or watched any movies or TV shows about drug trafficking in
    Latin America, or particularly about the Cartel de Jalisco Nueva Generacion, or CJNG, that would
    make it difficult for you to decide this case based only on the evidence presented during the trial and
    the law as I give it to you?
32. During this trial, you may hear testimony and review evidence of electronic communications
    intercepted by the government through use of judge-approved warrants. Do you have strong opinions
    or beliefs relating to judge-approved interception of electronic communications that would make it
    difficult for you to evaluate that evidence fairly?
33. Do you know of any reason, or has anything occurred to you during this questioning, that might in any
    way prevent you from following my instructions on the law and being completely fair and impartial
    as a juror in this case?




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